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     9
                             UNITED STATES DISTRICT COURT
    10
                            CENTRAL DISTRICT OF CALIFORNIA
    11

    12
         KEVIN RISTO, on behalf of himself      Case No. 2:18-cv-07241-CAS-PLA
    13 and all others similarly situated,

    14
                                                 Class Action
                        Plaintiff,
    15                                           REPLY IN SUPPORT OF MOTION
         vs.                                     IN LIMINE TO EXCLUDE THE
    16                                           TESTIMONY OF BARRIE KESSLER
    17
       SCREEN ACTORS GUILD-
       AMERICAN FEDERATION OF
    18 TELEVISION AND RADIO                      Hearing Date:      July 19, 2021
       ARTISTS, a Delaware corporation, et       Hearing Time :     11:00am
    19                                           Courtroom:         8D (Telephonic)
       al.,
    20
                        Defendants.
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    1                                        INTRODUCTION
    2         In his opposition brief, Plaintiff argues that his rebuttal expert, Barrie Kessler,
    3   can opine on whether the Service Fee, which compensates the Unions for the data
    4   and services they provide to the Fund, constitutes a “reasonable cost” within the
    5   meaning of Section 114(g) of the Copyright Act. Opp. at 1. This type of opinion
    6   testimony on data valuation and appraisal, however, requires specialized knowledge
    7   in economics and accounting that Ms. Kessler admittedly does not have. While
    8   Plaintiff asserts that she may opine as an “industry expert” based on her former
    9   employment at SoundExchange (as a computer programmer), her report contains
   10   economic analyses and conclusions that she is plainly not qualified to offer.
   11         Ms. Kessler’s testimony is independently inadmissible because her entire
   12   report rests on the inaccurate premise that, because SoundExchange would not have
   13   entered into the Service Fee arrangement, it was not reasonable for the Fund to do
   14   so either. Daubert does not permit Plaintiff to submit irrelevant testimony about a
   15   fundamentally different organization from the Fund, that has an entirely different
   16   mission, simply because such an inapposite comparison may be helpful to Plaintiff.
   17                                          ARGUMENT
   18   A.    Ms. Kessler Does Not Qualify As an Expert On Any Subject.
   19         Plaintiff does not dispute that Ms. Kessler lacks formal training in economics,
   20   accounting, or appraisal procedures, or in any other subject that would provide the
   21   requisite foundation for her expert opinions. Instead, Plaintiff claims that Ms.
   22   Kessler is being offered as an “industry expert” based on her former employment
   23   at SoundExchange. Opp. at 1-2. Plaintiff doubles down on this justification in
   24   proclaiming that “Ms. Kessler is not an academic,” and therefore she should not be
   25   expected to define the economic terms she used in her own report in “a strictly
   26   academic sense.” Id. at 6. There are two problems with this approach.
   27         First, based on Plaintiff’s own restrictive characterization of Ms. Kessler as
   28   “an industry expert,” she can only opine on industry standards and practices and

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     1   does not have the economic expertise to provide testimony that would require a
     2   valuation of the Union data or a critique of the valuation analysis of the Defendants’
     3   highly qualified appraisal expert. Yet Ms. Kessler does not offer any opinions on
     4   the “standards and practices” of any industry, and she does not limit her testimony
     5   to her area of industry experience, which consists of being a software consultant for
     6   small businesses. Dkt. 146, Declaration of Andrew G. Sullivan (“Sullivan Decl.”),
     7   Ex. 4 at 1; Ex. 5 (Kessler Tr. 19:5-21:16).1 Instead, she offers percipient witness
     8   testimony—after the discovery cut-off—about the practices of one entity
     9   (SoundExchange), which is not acceptable “custom and practice” testimony at all.
    10   See, e.g., Chuck Olsen Co. v. F.P.D., Inc., 2014 WL 12558273, at *3 (C.D. Cal.
    11   Sept. 17, 2014) (“Extrapolating an entire industry’s practice from one’s personal
    12   experience with one business clearly does not meet Rule 702’s reliable reasoning
    13   or methodology requirement.”).
    14         Second, to say that Ms. Kessler did not define economic terms in a “strictly
    15   academic sense” is a gross understatement: her testimony made clear that she had
    16   no idea what the concepts she cited in her report actually meant.2 This is not a
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    18  As Ms. Kessler testified, she was hired when SoundExchange was a fledgling entity
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       with no money to design a computer system to distribute royalties to copyright
    19 owners and featured artists – a system that became totally overwhelmed and useless

    20 several years later, once the amount of royalties that SoundExchange had to
       distribute became significant. Id., Ex. 5 (Kessler Tr. 51:10-52:6).
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         Plaintiff also takes umbrage at Defendants’ observation that Ms. Kessler did not
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    22 write any of her expert report herself. Opp. at 8. But the cited testimony confirms
    23 that Ms. Kessler orally communicated her thoughts to Plaintiff’s counsel, who then
       drafted the entirety of her report. Id. at 8-9. When asked whether she made any
    24 changes or added language to counsel’s draft, she responded that she only did so

    25 “once or twice.” Sullivan Decl., Ex. 5 (Kessler Tr. 128:19-129:8).
       Tellingly, many of the same catch-phrases that crop up in Ms. Kessler’s expert
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       report—including references to granting an “equity stake in” royalty distributions,
    27 the Data Agreement’s “ersatz” percentage metric, and the need for Unions to

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       “eschew” commercial considerations—also all appear in Mr. Bookman’s reports,
       which he also testified were written in substantial part by Plaintiff’s counsel. See

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     1   matter of mere quibbling over definitions. Ms. Kessler purported to opine that “the
     2   payment of music royalties is a fixed-cost business” and that “the Fund’s expenses
     3   are readily quantifiable as a fixed cost” (Id., Ex. 6 at 2, 8), but she then gave
     4   deposition testimony that made painfully clear that she has no clue what a “fixed
     5   cost” actually is. See Mot. at 7-8; Sullivan Decl., Ex. 5 (Kessler Tr. 82:14-83:2).
     6         The Ninth Circuit has held that within certain industries, courts may find
     7   expert testimony reliable based on knowledge and experience alone. Hangarter v.
     8   Provident Life & Accident Ins. Co., 373 F.3d 998, 1018 (9th Cir. 2004); see also
     9   Fed. R. Evid. 702 advisory committee's note (“In certain fields, experience is the
    10   predominant, if not sole, basis for a great deal of reliable expert testimony.”). The
    11   Ninth Circuit has permitted such expert testimony, however, only where the
    12   opinions are “not contingent upon a particular methodology or technical
    13   framework.” Hangarter, 373 F.3d at 108.3 It follows that the case law Plaintiff
    14   cites discusses industries that do not typically require academic expertise nor
    15   technical analyses to arrive at the opinions. See id. (permitting an expert to testify
    16   on industry standards and practices in the insurance industry); Kanellakopoulos v.
    17   Unimerica Life Ins. Co., 2018 WL 984826, at *2 (N.D. Cal. Feb. 20, 2018) (similar);
    18   Thomas v. Newton Int’l Enterprises, 42 F.3d 1266, 1269 (9th Cir. 1994) (permitting
    19   an experienced longshoreman to opine on the features of a vessel).
    20         Despite Plaintiff’s suggestion to the contrary, Plaintiff has not proffered Ms.
    21   Kessler in the limited capacity of an “industry expert.” As noted above, she does
    22   not purport to offer testimony about the custom and practice of any industry.
    23

    24   id., Ex. 6 at 2, 4, 5, 6, 7); Ex. 1 at 25, 29; Ex. 2 at 2; see also Ex. 3 (Bookman Tr.
         82:8-17, 113:21-114:5, 139:14-140:11).
    25
        See also Samuels v. Holland Am. Line-USA Inc., 656 F.3d 948, 953 (9th Cir. 2011)
         3

    26 (excluding opinions of travel industry expert about the customs of cruise line
    27 business, due to lack of specific experience in the cruise line industry); Mullins v.
       Premier Nutr. Corp., 178 F. Supp. 3d 867, 900 (N.D. Cal. 2016) (excluding opinions
    28 requiring review and understanding of scientific literature beyond his expertise).


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     1   Instead, Plaintiff seeks to use Ms. Kessler as a de facto economics expert. Her
     2   report is chock-full of technical economic terms and critiques of the methodology
     3   and conclusions of Defendants’ economist and appraisal expert, David Nolte. For
     4   example, in her expert report Ms. Kessler ventures to opine that: (i) the Service
     5   Agreement does not reflect a “reasonable cost approach,” Sullivan Decl., Ex. 6 at
     6   3; (ii) the purpose of a percentage fee is to incentivize performance in a “profit-
     7   sharing venture” where the size of profits is contingent upon the strength of the
     8   performance, id. at 4; (iii) the Unions are not in the business of “commercial data
     9   brokerage,” which is reliant on “monopolization”, “selective disclosure”, and
    10   “restrictive use,” id.; (iv) the Unions’ comparative “rent-seeking” is inexplicable in
    11   the face of their heightened duties and core mission statements,4 id. at 5; (v) the
    12   Unions are similarly bound by obligations to their members, including a “duty of
    13   fair representation,” id.; and (vi) the multifactor Georgia-Pacific analysis used by
    14   Mr. Nolte is intended for “wildly disparate intangible property,” id. at 6.
    15         Far from the facts in GSI Tech., Inc. v. Cypress Semiconductor Corp., 2015
    16   WL 364796, at *2 (N.D. Cal. Jan. 27, 2015), where Plaintiff’s expert sparingly used
    17   economic terms in her report and testimony, Ms. Kessler’s report is rife with
    18   technical terms and conclusions that would fall within the ambit of a trained
    19   economics expert. Because Ms. Kessler lacks the economic expertise necessary to
    20   reach those conclusions, this Court should exclude her report.
    21   B.    Ms. Kessler’s Testimony Is Irrelevant.
    22         Ms. Kessler’s testimony is also inadmissible because it is not relevant to the
    23   disputed issue – whether or not it is reasonable for the Fund to compensate the
    24   Unions for the data it provided on non-featured performers. Before admitting
    25   expert testimony, the Court must “ensure that [it] is relevant to the task at hand, i.e.,
    26   that it logically advances a material aspect of the proposing party’s case.” Daubert
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          Nothing in Ms. Kessler’s educational background or work history qualifies her in
    28   any way to opine on the practices, motivations, or legal obligations of any union.

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     1   v. Merrell Dow Pharm, Inc., 43 F.3d 1311, 1315 (9th Cir. 1995) (citation omitted).
     2   This standard is not “merely a reiteration of the general relevancy requirement of
     3   Rule 402.” Id. at 1321 n.17. Rather, it requires the Court to exclude testimony that
     4   does not “speak[] clearly and directly to an issue in dispute in the case.” Id.
     5         At the core of her report, Ms. Kessler’s argues that “SoundExchange would
     6   never have acceded to an arrangement such as the Services Agreement,” and thus
     7   the Service Fee could not have been reasonably incurred by the Fund. Sullivan
     8   Decl., Ex. 6 at 5. But this comparison is irrelevant. Contrary to Plaintiff’s assertion
     9   that SoundExchange is “the Fund’s closest possible analog” (Opp. at 2),
    10   SoundExchange performs an entirely different function from the Fund.
    11   SoundExchange distributes royalties to copyright owners and featured performers
    12   – who, by definition, can be readily identified from public information.5 Ms.
    13   Kessler testified that she did not believe SoundExchange has conducted any
    14   independent research to identify copyright owners. See id., Ex. 5 (Kessler Tr. 41:2-
    15   7). The Fund, on the other hand, is tasked with identifying the non-featured
    16   performers who appear in the background of covered recordings and who
    17   frequently cannot be identified via public sources.6 Ms. Kessler’s opinion that
    18   SoundExchange would not pay a percentage-based fee for performer data is
    19   irrelevant, as SoundExchange does not engage in research efforts that are even
    20   remotely comparable to those undertaken by the Fund.
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                                               CONCLUSION
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               This Court should exclude Ms. Kessler’s testimony at trial.
    23

    24  Ms. Kessler has explained that major record labels (who typically receive 50% of
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       the royalties collected by SoundExchange) regularly identify themselves to
    25 SoundExchange, and that SoundExchange’s efforts to identify “independent labels”

    26 are limited to “outreach” efforts. Id., Ex. 6 at 2, Ex. 5 (Kessler Tr., 39:10-41:1).

    27  Unlike SoundExchange, the Fund employs ten full-time researchers who work to
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       identify performers on tens of thousands of tracks each year. See id., Ex. 7 (Taub
    28 Tr., 118:13-119:12 and Ex. 1 at ¶ 5); Dkt. 107, Decl. of Stefanie Taub, ¶ 5, 8.


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     1   Dated:     July 12, 2021                JENNER & BLOCK LLP
     2

     3
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     7
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